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ANTE-NUPTIAL AGREEMENT

THIS ANTE-NUPTIAL AGREEMENT is made and entered into this 14" day of June,
2004, by and-between Robert Kozlowski, of Fort W ayne, Indiana, (hereinafter called "Bob"), and
Susan Horwitz, of Fort Wayne, Indiana, (hereinafter called "Susan".

WITNESSETH:

WHEREAS, the parties to this Agreement contemplate marriage to each other on or about
June 15, 2004; and

WHEREAS, in anticipation of the marriage to each other, the parties desire to fix and
determine by this Ante-Nuptial Agreement, the rights and claims that will accrue to each of them and
their respective children, if any, in the estate and property of the other by reason of the marmage, and
to accept the provisions of this Agreement in lieu of and in full disclosure, discharge, settlement and
satisfaction of all such rights and claims, should the marriage relationship terminate by death or other
legal proceedings; and

WHEREAS, each of the parties own individually, real and personal property, both tangible
and intangible, and have various sources of income, and liabilities, the full nature and extent of said
property, and liabilities having been disclosed to the other, such assets, and liabilities being generally
detailed in the attached Exhibit "A" for Bob and which each represents to be a substantially accurate
disclosure; and

WHEREAS, Bob has one son who is the issue of a former marriage; and
WHEREAS, Susan has two children who are the issue of a former mattiage: and

WHEREAS, each party by reason of such prior marriage has formulated certain pians relating
to the disposition of his or her property in the event of death, and the parties desire that their
marriage shall not substantially change such plans, and that each party desires that a dissolution of
their marriage shall not substantiaily change such plans; and

WHEREAS, each of the parties desire that the marriage shall not in any way change their
legal nights, or that of their children and heirs, and the property of each of them, except as otherwise
provided in this Agreement, or as otherwise mutually changed, after the contemplated marriage, by
agreement of the parties, and each party desires that his or her respective property, both real and
personal, shall pass to his or her respective children or designated; and

WHEREAS, the parties desire and intend to define their respective nghts in the property of
the other, both during the marriage relationship and after it's termination, and to avoid such interest
which, except for the operation of this Agreement, each mi ght acquire in the property of the other as
incidents of their marriage relationship; and

 
 

 

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WHEREAS, it is the desire to each of the parties hereto that they abide by the following:

4. That all property now owned by each of them shall remain the Separate property of said
person, so that each is free to manage, control, dispose, devise and bequeath such property to
whomever such person desires, free of any claim of the other party to this Agreement except as
hereafter set out,

B. That any property hereafter acquired by either party shall pass as such party shall desire,
free of the claim of the other party and that may arise by reason of the contemplated marriage,
including any right which each might have to any property of the other by virtue of intestacy statutes
of the state in which the parties live, which grants allowances to the surviving spouses,

C. That if any property is acquired by the parties after their marriage, which is acquired as
tenants by the entireties, or in joint tenancy with right of survivorship in the survivor of either party,
the parties shall intend such property so acquired to pass to the survivor.

such asset,

NOW THEREFORE, in consideration of the contemplated marriage of the parties, and in
consideration of the reasons recited above, and in further consideration of the premises and the
mutual promises and undertakings and covenants contained herein and hereinafter set forth, the
parties mutually agree as follows:

|. Disciosure of Property.

A full and complete disclosure of all property owned by the parties, both real and personal,
tangible and intangible, has been made to each other, and schedules of the respective property of
each party, together with the estimated fair market values, are attached hereto as Exhibit "A" for Bob

and Exhibit "B” for Susan, each which represents a substantially accurate disclosure, and which are
hereby incorporated herein by reference.

2, Property to be Separately Crowned.

Except as herein otherwise provided, the property owned by each party at the time of the
marnage contemplated herein shall remain the Separate properly of each party, and each party shall
separately retain all rights in his or her own property, whether now owned or hereafter acquired by
purchase, gift, nheritance or otherwise, including all interests, rents, profits and increases in value
which may in time accrue or may result in any manner, together with any property which they may
have omitted inadvertently from the exhibits attached hereto. All of such property which is held in
the individual name of each party, shall be owned as the "separate property" of each party during the
marriage, including any other property or interest in property owned by either party, Each party
hereby waives, discharges, and releases all 4 ght, title and interest in and to the property of the other
now owned, hereafter acquired, or acquired from the proceeds of any property now owned.

D. That if either party makes a gift of any assets to the other party, the other party shall own

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Each party shall have the absolute and unrestricted right to manage, control, dispose of, or
ch separate property during the marriage and during his or her life, in any
manner, or otherwise deal with such separate property free from any claim that may be made by the
other by reason of their marriage, and with the same effect as if no marriage had been consurnmated
ht shall include the right to dis
but not limited to a gift, i
disposition, free of any clai
with the same effect as if n

 

with respect to the other, either during the lives of eith er party or both such parties or upon the death
of either or both such parties, except as either or both shail hereafter expressly provide by a valid
Last Will and Testament or Trust in effect except as provided herein by waiver and subject to probate
at the time of their respective deaths. The parties further agree that all real and/or personal property
and the proceeds thereof by sale or the encumbrancing of such property, and the property acquired
with such proceeds, whether owned by either of the parties, prior to or subsequent to the
contemplated marriage of the parties and all income, interest, rents, profits and increases in value
which may in time accrue or result in any manner, shall remain and be the Separate property of that
party and subject entirely to his or her individual control the same as if he or she were not married,
“xcept as provided herein. Each party hereby waives, discharges and releases al! rights, title and
interest whatsoever he or she may acquire in the separate property of the other, described herein, and
hereinafter acquired, and held in the individual names of the parties either as surviving spouse, heir
or distributee in the estate of the other, including any and all i ght of intestacy whether by common
law or statute, state or federal, now in effect or hereinafter enacted jn any jurisdiction, including the
right to elect against the Will, statutory widow or widower's allowance and statutory family
allowance in or to the property, real, personal, intangible, tangible or mixed, life insurance or
distributive shares or otherwise of the other party. Each party shall on the demand of the other party,
or their heirs, devisees, personal representatives, executors, administrators, and assi gs, €xecute any
and all releases, deeds, instruments, receipts and other documents that may be necessary to
accomplish the foregoing. This provision shail constitute a waiver and release of the right of the
election which cither Spouse may have by reason of the laws of the State of Indiana, or like or similar
laws of any jurisdiction.

Each party hereby further waives and releases all right that he or she may acquire in the
property of the other in any employment, benefit, in any IRA account, group life insurance, pension,
profit sharing, disability income, medical Payment and stock and/or bond purchase and savings plan
of the other, including any life insurance and health insurance policy of the ather, and including any
checking or savings account in each party’s own name.

4. Death of a Party.

Each party hereby waives and releases any and all rights and claims of any Kind, nature and
description that either may acquire or have as a surviving spouse, excepting for any claims ansing
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pursuant to this Agreement. Each party further waives and releases any and all right of election
under Indiana laws to an intestate share in the estate of the other and of the night to a survivor's
allowance, all pursuant to Indiana law and any law amendatory thereof or supplementary or similar
thereto, or the same or similar law of any other jurisdiction. Nothing in this Agreement shall prevent
Bob or Susan in the Last Will and Testament or Trust of either party to provide for the surviving
spouse. In the event either party provides for the other in their Last Will and Testament or Trust, it is
the intention and agreement of the parties hereto, that said surviving spouse shall be entitled to the
property devised to said surviving spouse in the Last Will and Testament or Trust of the deceased
spouse, At this time the parties intend to live ina home on real estate owned by Bob. In the event of
the death of Bob, Susan shall have the tight to occupy the marital home on said real estate for a
period of twelve months (12) from the date of Bob’s death. Susan shall also have all the furniture
that he brought into the marriage and enough other furniture from the home to furnish an aparmment
for Susan. Each of the parties hereto have made their own arrangements for payment of funeral
expenses and such expense shall not be the obligation of the surviving spouse.

It is further agreed by Bob and Susan that upon the death of Bob, Susan shail receive the sum
of Fifty Thousand Dollars ($50,000.00) per annum for and during her natural hfetime, and Bob
agrees to make such provisions in his Estate Plan and bind his Trustees and personal Representatives
to this provision of this Ante-Nuptial Agreement.

5. Dissolution of Marriage or Legal Sevaration.

In the event of a dissolution of the marriage, or a legal separation, the parties agree to the
following:

A. Bob agrees to accept in full and final settlement and satisfaction of the tights that he may
have whether by way of a division of the property of the parties, or by way of maintenance, support,
alimony or otherwise, the following;

(1) All the separate property of Bob whether acquired before or during the marriage to
Susan and all interest accruing thereon, and whether acquired by gift, purchase, employment,
inheritance or otherwise, and any increase in value attributable to such property.

(2) One-half (1/2) of all Jointly held property acquired by the parties during the
marriage, by purchase, or gift, subject to the one-half (1/2) of all the indebtedness thereon,
including without limitation, mortgages and taxes. The parties agree, that in the event of a
dissolution of the marriage or legal separation, to immediately sell said jointly held and
jointly acquired property, to carry out the tertns of this Agreement, unless the parties agree to
transfer such property in kind to the other, and to carry out the terms of this Agreement.

B, Susan agrees to accept in full and final settlement and satisfaction all the rights that she
may have whether by way of a division of the property of the parties, and/or by way of maintenance,
support, alimony or otherwise, the following:

 
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(1) Ail the separate property of Susan, whether acquired before or during the marriage
to Bob, and all interest accruing thereon, and whether acquired by gift, purchase,
employment, inheritance or otherwise, and any increase in value attributable to such

property.

(2) One-half (1/2) of all jointly held property acquired by the parties during the
marriage, by purchase, or gift, subject to one-half (1/2) of all the indebtedness thereon,
including without limitation, mortgages and taxes. The parties agree, that in the event ofa
dissolution of marriage or legal separation, to immediately sell same jointly held and jointly
acquired property, to carry out the terms of this Agreement, unless the parties agree io
transiér such property in kind to the other, to carry our the terms of this Agreement,

(3) Bob agrees to pay the sum of Fifty Thousand Dollars ($50,000.00) annually to
Susan as long as she remains unmarried.

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f 6. | Subsequent Acquisition of Property and Joint Ownershin,
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Notwithstanding any of the above, this Agreement does not preclude the parties from making
gifts to each other, from designating the other as beneficiary upon any policy of insurance, or from
providing a widow's or widower's allowance for the other, from bequeathing or devising property
under a Trust, Will or Codicil to the other or from hereinafter acquiring property in the joint names
of each other, with full rights of survivorship in the other. However, each of the parties declare that

the other, leave property to the other under a Trust, Will or Codicil, or by beneficiary designation
upon insurance policies, or by purchasing assets in Joint title, with ni ghts of survivorship in the other.
In the event either party makes a gaft to the other of any property or cash, it is intended that it shal}
remain the separate Property of the other. Further, in the event the parties do acquire property in
tenancy by the entirety or joint title with rights of survivorship in the other, the parties agree as
follows:

Property which does not have a title or registration, such as furniture, for example, the parties

shall so designate their intention to create joint ownership by placing their joint names on any
sales document for such item, whether purchased by cash or by credit,

B. Each party agrees that each shall reserve the right to designate beneficiaries of
their choice as the beneficiaries of all their respective life insurance, IRA accounts,
retirement accounts and any other employment benefit accounts.
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7. Agreement to Join in Execution of Other Instruments,

Both parties covenant that they shall willingly, at the request of either party, or his or her
SUCCESSOFS OF assigns, execute, deliver and properly acknowledge whatever additional instruments
may be required to carry out the intention of this Agreement, and shall execute, deliver, and properly
acknowledge any deeds or other documents in order that the good and marketable title to any
property can be conveyed by one party free from any claim of the other party.

8. Responsibility to Children.

Bob during his lifetime shall have no responsibility from his estate or obli gation whatsoever
for the support of any now living child or children of Susan or the issue of any such child or children
of Susan and Susan during her lifetime shall have no responsibility from her estate or obligation
whatsoever for the support of any now living child of Bob or the issue of any such child of Bob.

9. Responsibility to Support and Payment of all Medical and Hosnital Bills and
Long-term Nursing Home Expenses.

Each party has adequate income and independent means of Support and waives the right of
support from the other. Each party agrees to pay all medical, hospital, and nursing home or other
long-term care expenses from their own personal estate and such like expenses shall not be the
obligation of the other Spouse, except Bob shall have the tight to provide such medical and hospital
insurance through his employment for Susan.

10. Income.

Each party agrees that all income earned by either party shall be and remain the separate
property of said party, and the other party shall have no right or claim thereto.

ll. Inheritance.

12, Additional Covenants and Agreements.

A. With respect to the Separate property of the parties, if requested, each party shall jom in
such conveyances, transfers and documents as may be required to transfer such property.

B. Except as herein provided, neither party is required to make provisions for the other party
unless voluntarily made.

 

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C. During the marriage of the parties, consistent with their financial abtlity, each party shail
contribute to the reasonable family expenses incurred. However, each party shal! be responsible for
his or her own income tax fability, whether or not the parties file a joint income tax retum, prorate,
according to each party's percentage of income and each party shall share in a refund from a joint
income tax return, Prorate, according to each party's percentage of income.

D. Each party agrees to be solely responsible for his or her own debts, whether acquired and
incurred before, during or after the marriage of the parties, and at this time, and the parties further
agreé to indemnify and hold harmless the other party from any liability for such debts. However, the
Parties agree to be jointly responsible for any debts acquired jointly by the parties during the

marriage. Each party further agrees not to change or incur any debt, encumbrance or liability in the
name of the other party, but this shall not prevent either party
the other party.

E. This Agreement shall take effect only upon the solemnization of the Marriage now
contemplated by and between the parties hereto,

13. Voluntary Execution of Agreement.

weighed all of the facts, conditions and circumstances likely to
influence his or her Judgment herein; that al] matters embodied herein as well as all questions
pertinent thereto, have been fully and satisfactorily explained to him or her; that he or she has given
due consideration to such matters and questions: that he or she clearly understands and consents to
all of the provisions of this Agreement, Each party further states that he and she believe that the
arrangements and agreements made herein are fair and equitable, that each party clearly consents to
is entering into this Agreement freely, voluntarily, and with sufficient knowledge and understanding.
It is a fact that Bob had his attorney, John C. Thrapp, draft this Ante-Nuptial Agreement and that he
has approved the provisions contained herein. As above set out Susan has the right to have her
attorney examine this document and explain the provisions thereof and if Susan does not engage an
attorney for this purpose then Susan acknowledges that she understands each and every provision
contained herein and voluntarily waives being represented by an attorney.

 
  
    
  
   
  
  
 
   
  
   

 
 

 

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14. Miscelianeous.

A. Each of the parties further agree that they are also aware of all nghts, but for this
Agreement, which would be conferred by law upon each of them, and the property or estate of the
other, by virtue of the consummation of said contemplated marriage, and the rights of the respective
parties hereto in and to each other's property or estate, but nevertheless each party agrees that all of
such rights shall be determined, fixed and settled by this Agreement, and not otherwise.

B. This Agreement and the provisions hereof may be asserted as a bar and estoppel in all
courts of law or equity to the claims of either party. The parties may, by mutual agreement, reduced
to writing, amend, revoke or rescind this Agreement.

C. The parties agree that this Agreement shall inure to the benefit of and shall be binding
upon the heirs, executors, administrators, personal representatives, trustees, guardians and assigns of
the parties hereto.

D. This Agreement contains the entire understanding of the parties. No representations,
warranties, promises, covenants, undertakings, oral or otherwise, other than those expressly set forth
herein, shall be binding, all such matters being merged herein.

E. The laws of the State of Indiana shall govern the construction and interpretation of this
Agreement. Ifthe parties change their domicile to another jurisdiction, they shall consult with an
attomey conversant with the law of such new jurisdiction and shall amend this Agreement, if
necessary, so as to coordinate as nearly as possible the intention of this Agreement with the law of
the new jurisdiction.

F, In case any one or more of the provisions contained in this Agreement shall for any reason
be held to be invalid, illegal, void, or unenforceable in any respect, the remainder of the provisions
shall remain in full force and effect, and this Agreement shall be construed as if such invalid, illegal,
void, or unenforceable provision has never been contained herein.

G. This Agreement is entered into in consideration of the marriage contemplated herein, and
it's effectiveness is expressly conditioned on such marriage between the parties actually taking place.
If, for any reason the marriage does not occur, this Agreement shall be of no force or effect.

H. This Agreement shall take effect upon the solemnization of the marriage now
contemplated by the parties.

I No waiver, modification, or cancellation of this Agreement, or any part thereof, shall be
effective unless signed and acknowledged by both parties.

J. The title to the paragraphs in this Agreement are inserted for convenience only and are not
intended to be utilized to interrupt or construe the terms of such paragraph.

 

 
 

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-9.
15, Acknowledgment of Representation by Counsel.

The parties acknowledge that they have each had independent legal counsel of his and her
own choosing or the opportunity to consult with independent legal counsel of his or her own
choosing prior to the execution of this Agreement and cach acknowledges that they have been fully
informed of all the rights and liabilities pertaining to the Agreement. Each acknowledges they have
executed this agreement after having read this Agreement line by line. The parties execute the
Agreement freely and voluntarily, and accept the terms, conditions and provisions hereof and state
that the execution by each of them of the Agreement is free from any coercion whatsoever. There are
no promises, agreements, terms of understandings extrinsic to this Agreement except as otherwise
specifically set forth herein, and no oral statement or prior written matter shall have any force or
effect except as otherwise set forth herein.

IN WITNESS WHEREOEF, the parties have signed this Ante-Nuptial Agreement on the 14"
day of June, 2004.

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Robert Kozlowski ~ Susan -

STATE OF INDIANA )
) SS:
COUNTY OF NOBLE )
Before me, the undersigned, a Notary Public, in and for County and State this 14” day of
June, 2004, personally appeared Robert Kozlowski a competent adult, and acknowledged the

execution of the foregoing Ante-Nuptial Agreement for the purposes contained therein.

IN WITNESS WHEREOF, | have hereunto subscribed my name and affixed my official

Qn CU

My Commission Expires: JohrNC. Thrapp, Notary Public
Resident of Noble County, Indiana

seal.

May 25, 2009
 

 

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STATE OF INDIANA )
} SS:
COUNTY OF NOBLE }

Before me, the undersigned, a Notary Public, in and for County and State this 14° day of
June, 2004, personally appeared Susan Horwitz, a competent adult, and acknowledged the execution
of the ne foregoing Ante-Nuptial Agreement for the purposes contained therein.
| YN WITNESS WHEREOF, I have hereunto subscribed my name and affixed my official
seal. .

Sw C Mur

My Commission Expires: John © Thrapp, Notary Public
Resident of Noble County, Indiana
May 25, 2009
STATEMENT OF ATTORNEY

The undersigned states that he is the attorney for Robert Kozlowski he has explained each
of the provisions of the foregoing Ante-Nuptial Agreement to Robert Kozlowski and that, as ins
attorney, he has had a full opportunity to explain to Robert Kozlowski the rights under present
Indiana law which he is waiving, either at death or at termination of the marriage for reasons
other than death, if he signs the foregoing Ante-Nuptial Agreement.

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JohntS Thrapp
Dated: June 14, 2004
WAIVER OF ATTORNEY

[hereby voluntarily waive my right to consult with an independent attorney and state |
understand the terms of this Ante~-Nuptal Agreement.

 

Lia CEL ]
Susan Hoewite—77

Dated: June 14, 2004
 

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EXHIBIT “A”

LIST OF ASSETS, ESTIMATED VALUE AND DEBTS OF
ROBERT KOZLOWSKI

See ATTACKED Exh AM

Examined by me this 14" day of
June, 2004

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This instrument was prepared by: John C Thrapp, Atty. #1269-57, 116 West Mitchell St.,
Kendallville, Indiana 46755 (260) 347-0756

 

 
 

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ASSET LISTING BOB KOZLOWSKI

 

 

6/13/2004
APPROX.

ASSET ACCT. # VALUE:
Baird Financial 4865-6942 4,815,000
Janney Montgomery Scatt 4920-9405 1,444,918

4920-9388 999,008
IRA 4921-1785 28,862
Dekko Financia! BO7-306320 544,865
IRA BQ7-910503 321,759
Group Dekko Stock 2,000,000
Property Listing
12311 Autumn Breeze Drive
Ft. Wayne, IN 46845 350,000
500 Lane 205
Jimmerson Lake
Angola, IN 46703 350,000
Unit #909
Mar Del Plata
6423 Collins Ave.
Miami Beach, FL 33141 490,000
#634, 636, 638B, 636, 640
East North St.
Kendallville, In 46755 275,000
129 +/- acre Farm
1000 N and School House Rd 300,000

Kendallville, IN 46755

Exhibit A - Antenuphal Agrees?
